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  unicorn
  noun
  uni·corn | \ ˈyü-nə-ˌkȯrn    \
  plural unicorns

  Definition of unicorn
  1a : a mythical, usually white animal generally depicted with the body and head of a horse
  with long flowing mane and tail and a single often spiraled horn in the middle of the forehead

  b : an animal mentioned in the Bible that is usually considered an aurochs, a one-horned
  rhinoceros, or an antelope

  2 : something unusual, rare, or unique There's the elusive unicorn: headphones that do
  everything well and work in any situation.—Damon Darlin In Washington, D.C., truth is now
  a veritable unicorn.—Marilyn M. Singleton … he's like baseball's version of a unicorn—a
  true two-way player.—Tony Paul

  3 business : a start-up that is valued at one billion dollars or more … a tech unicorn in
  Michigan is even more of a rarity, far from Silicon Valley's investor echo chamber.—Scott
  Martin The blockbuster initial public offering is expected to kick off a revitalized market this
  year, encouraging IPO debuts by other unicorns, the privately held start-ups whose hefty
  venture capital funds have allowed them to avoid Wall Street and the legal requirements of a
  public offering.—Jon Swartz




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   Illustration of unicorn




   Examples of unicorn in a Sentence
   Recent Examples on the Web

   The other reason is that the chance of a Kansas City NBA team not just existing but being
   coached by an actual unicorn is roughly the same as the Royals making the playoffs in the
   next three years.— Sam Mellinger, kansascity, "Mellinger Minutes: Danny Duffy good again,
   Royals and 100 losses, and, oh yes, the Chiefs," 12 June 2018 Is this a successful model for
   other unicorns on the 2018 CNBC Disruptor 50 list announced Tuesday, like Uber and
   Airbnb or smaller companies?— Tory Newmyer, Washington Post, "The Finance 202: Banks
   give richly to three Senate Democrats who backed deregulation," 23 May 2018

   These example sentences are selected automatically from various online news sources to
   reflect current usage of the word 'unicorn.' Views expressed in the examples do not represent
   the opinion of Merriam-Webster or its editors. Send us feedback.

   See More

   First Known Use of unicorn
   13th century, in the meaning defined at sense 1a

   History and Etymology for unicorn
   Middle English unicorne, from Anglo-French, from Late Latin unicornis, from Latin, having
   one horn, from uni- + cornu horn — more at horn




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   We've added 850 new words and definitions




   'Unicorn': Nothing Is What It Seems

   'Unicorn': Nothing Is What It Seems

   Unicorns didn’t always look like that.




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   The Billion-Dollar Unicorn

   The Billion-Dollar Unicorn

   This kind actually exists

   Dictionary Entries near unicorn
   unicolorous

   uniconsonantal

   uniconstant

   unicorn

   unicorn's horn

   unicorn antelope

   unicorn beetle

   Statistics for unicorn
   Last Updated

   24 Sep 2018

   Look-up Popularity

   Bottom 50% of words

   Time Traveler for unicorn

   The first known use of unicorn was in the 13th century


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   More Definitions for unicorn

   unicorn

   noun



   English Language Learners Definition of unicorn
   : an imaginary animal that looks like a horse and has a straight horn growing from the middle
   of its forehead

   See the full definition for unicorn in the English Language Learners Dictionary

   unicorn

   noun
   uni·corn | \ ˈyü-nə-ˌkȯrn      \

   Kids Definition of unicorn
   : an imaginary animal that looks like a horse with one horn in the middle of the forehead

   unicorn

   adjective
   uni·corn | \ ˈyü-nə-ˌkȯ(ə)rn       \

   Medical Definition of unicorn
   : having a single horn or hornlike process a unicorn uterus

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   More from Merriam-Webster on unicorn

   See words that rhyme with unicorn

   Spanish Central: Translation of unicorn




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  Nglish: Translation of unicorn for Spanish Speakers

  Britannica English: Translation of unicorn for Arabic Speakers

  Britannica.com: Encyclopedia article about unicorn


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                              WORD OF THE DAY


                                       cloister
                                  to shut away from the world


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                          Test Your Vocabulary

                           September 2018 Words of the Day
                                        Quiz




                                       • Which is a synonym of
                                         lenitive?



                            •

                                 exhilarating        soothing

                                   dreary           exogenous




                                     Test your knowledge - and
                                     maybe learn something along
                                     the way.

                                     TAKE THE QUIZ


                                     Test Your Knowledge - and
                                     learn some interesting things
                                     along the way.

                                     TAKE THE QUIZ




                          TRENDING NOW

                                1 quorum
                                   Kavanau g h Advances to…

                                2 sequela
                                   Ford Testifies in Front o…

                                3 corroborate
                                   Ford Offers Statements…

                                4 Spartan




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                                 Red Cross Warns of Sh e …

                              5 hirsute
                                 RIP Burt Reynolds

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                                               WORDS AT PLAY




      •                                  •                                 •

          'Personal' vs 'Personnel': A        8 Words for Witchcraft and       Fun! Funner!! Funne s
              Matter for You and                    Black Magic
                Everyone Else
                                                                               We got a whole mes s
                                               Witchcraft, dark magic,             fun here, folks
          Keep this in your personal                 and mor e        …
                     file.        …




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      •                                •                                 •

           How Do You Pronounce                    Ghost Word                         Literally
                  'Vase'?
                                            The story of an imaginary         How to use a word t
            And is one way more               word that mana g ed to …        ( literall y) drives so m
           correct than the others?…




                                              WORD GAMES




      •                                •                                 •

          September 2018 Words of              Name that Food Quiz                 True or False?
               the Day Quiz
                                             Test your knowledge of          Test your knowledge -
          A quiz like a cool breeze.          food and food words. …          ma y be learn someth
                                                  TAKE THE QUIZ                   TAKE THE QUIZ
               TAKE THE QUIZ




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